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                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Jacob K. Javits Federal Building
                                                     26 Federal Plaza, 38th Floor
                                                     New York, New York 10278


                                                     February 28, 2025

BY ECF

The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Trevor Milton, S1 21 Cr. 478 (ER)

Dear Judge Ramos:

         The Government writes regarding restitution in this case. As part of the defendant’s
sentencing, the Court ordered the imposition of restitution, but left open the amount of restitution
to be paid pending receipt of further information from the parties. The parties have attempted to
reach a resolution on restitution, but unfortunately are unable to come to an agreement. Therefore,
the parties respectfully request that the Court set a briefing schedule to adjudicate the amount of
restitution that should be ordered in this case. The parties propose that the Government’s
submission be due on March 14, 2025, and the defendant’s submission be due on April 4, 2025.

                                              Respectfully submitted,

                                              MATTHEW PODOLSKY
                                              Acting United States Attorney


                                          by: /s/ Nicolas Roos
                                              Nicolas Roos
                                              Assistant United States Attorney
                                              (212) 637-2421

cc: Counsel of Record (by ECF)
